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                         IN THE UNITED STATES COURT OF APPEALS FOR
                             THE DISTRICT OF COLUMBIA CIRCUIT



             KALSHIEX LLC,

                           Appellee/Plaintiff,
                                                         No. 24-5205
                    v.
                                                         (Appeal from Case No. 1:23-cv-03257)
             COMMODITY FUTURES TRADING
             COMMISSION,

                           Appellant/Defendant.



             APPELLANT COMMODITY FUTURES TRADING COMMISSION’S
                 UNOPPOSED MOTION FOR VOLUNTARY DISMISSAL

                Appellant the Commodity Futures Trading Commission (“Commission”),

         pursuant to Federal Rule of Appellate Procedure 39 and 42(b) and Circuit Rule 39

         and 42(b), hereby moves that this appeal be voluntarily dismissed, on terms agreed

         upon by the parties in the attached Joint Stipulation, namely that each party will

         bear its own costs, court fees and attorney fees incurred in the proceedings before

         this Court, the district court, and in administrative proceedings before the

         Commission, and Appellee KalshiEx LLC (“Kalshi”) waives any and all claims

         relating to or arising from litigation of this matter before this Court, the district

         court, or administrative proceedings before the Commission, that Kalshi may have

         under: (1) the Equal Access to Justice Act, 5 U.S.C. § 504 and 28 U.S.C. § 2412,



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         and/or the rules promulgated by the Commission in conformity therewith, Part 148

         of the Regulations, 17 C.F.R. pt. 148 (2024), relating to, or arising from, this

         action; and (2) the Small Business Regulatory Enforcement Fairness Act of 1996,

         Pub. L. No. 104-121, tit. II, §§ 201–253, 110 Stat. 847, 857–74 (codified as

         amended at 28 U.S.C. § 2412 and in scattered sections of 5 U.S.C. and 15 U.S.C.).

         Dated: May 5, 2025
                                                 Respectfully submitted,

                                                 COMMODITY FUTURES
                                                 TRADING COMMISSION

                                                 By:    /s/Anne W. Stukes            .
                                                        One of its Attorneys

                                                 Anne W. Stukes
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                                CERTIFICATE OF COMPLIANCE

         I hereby certify under Fed. R. App. P. 32(g)(1) the following:

                1.    This document complies with the type-volume limit of Fed. R. App. P.
                27(d)(2)(A) because it contains 206 words, as counted by the word processing
                software Microsoft Word.

                2.    This document complies with the typeface requirements of Fed. R.
                App. P. 32(a)(5)-(6) because it has been prepared in a proportionally spaced
                typeface using Microsoft Word, in Times New Roman 14-point type.


         Dated: May 5, 2025                     /s/ Anne W. Stukes        .




                                   CERTIFICATE OF SERVICE

         I hereby certify that on May 5, 2025, I served the foregoing Motion on counsel of
         record using this Court’s CM/ECF system.
                                                               /s/ Anne W. Stukes .




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